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AO 245B (CO Rev. 11/20)     Judgment in a Criminal Case



                                       UNITED STATES DISTRICT COURT
                                                                 District of Colorado
                                                                            )
              UNITED STATES OF AMERICA                                      )    JUDGMENT IN A CRIMINAL CASE
                                 v.                                         )
                                                                            )
                     DEBRA CAMPBELL                                         )    Case Number:         22-cr-00113-CMA-GPG-1
                                                                            )    USM Number:          03573-510
                                                                            )
                                                                            )    Mary Virginia Butterton
                                                                            )    Defendant’s Attorney
THE DEFENDANT:
‫ ܈‬pleaded guilty to count(s)      1 and 2 of the Information
‫ ܆‬pleaded nolo contendere to count(s)
  which was accepted by the court.
‫ ܆‬was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section              Nature of Offense                                                                    Offense Ended          Count
18 U.S.C. § 1343             Wire Fraud                                                                            04/30/2018              1
26 U.S.C. § 7206(1)          Subscribing to a False Tax Return                                                     09/19/2018              2




    The defendant is sentenced as provided in pages 2 through                  9            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
‫ ܆‬The defendant has been found not guilty on count(s)
‫ ܆‬Count(s)                                                ‫ ܆‬is     ‫܆‬    are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       November 8, 2022
                                                                       Date of Imposition of Judgment




                                                                       Signature of Judge




                                                                       Christine M. Arguello, Senior United States District Judge
                                                                       Name and Title of Judge

                                                                          11/9/2022
                                                                       Date
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                                                            IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: thirty-seven (37)
 months; thirty-seven (37) months as to Count 1 and thirty-six (36) months as to Count 2, to be served concurrently.



      ‫܈‬    The court makes the following recommendations to the Bureau of Prisons:
           The Court recommends that the defendant be designated to a medical facility.




      ‫܆‬    The defendant is remanded to the custody of the United States Marshal.

      ‫܆‬    The defendant shall surrender to the United States Marshal for this district:
           ‫܆‬      at                                       ‫܆‬      a.m. ‫܆‬         p.m.   on                                                   .
           ‫܆‬      as notified by the United States Marshal.

      ‫܈‬    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ‫܈‬      before 12 p.m. on        within 15 days of designation    .
           ‫܆‬      as notified by the United States Marshal.
           ‫܈‬      as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                             to

 at                                                  , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                                By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: three (3) years; three (3) years as to Count 1 and one (1)
year as to Count 2, to be served concurrently.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and a maximum of 20 tests per year of supervision thereafter.
            ‫ ܈‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
4.    ‫ ܈‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
      obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must comply
      with that instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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                                          SPECIAL CONDITIONS OF SUPERVISION
1.    You must participate in a program of mental health treatment approved by the probation officer and follow the rules and regulations
      of such program. The probation officer, in consultation with the treatment provider, will supervise your participation in the program
      as to modality, duration, and intensity. You must pay for the cost of treatment based on your ability to pay.
2.    You must document all income and compensation generated or received from any source and must provide that information to the
      probation officer as requested.
3.    You must provide the probation officer access to any requested financial information and authorize the release of any financial
      information.
4.    If you have an outstanding financial obligation, the probation office may share any financial or employment documentation relevant
      to you with the Asset Recovery Division of the United States Attorney's Office to assist in the collection of the obligation.
5.    You must not incur new credit charges or open additional lines of credit without the approval of the probation officer, unless you are
      in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and sentence.
6.    You must apply any monies received from income tax refunds, lottery winnings, inheritances, judgments, and any anticipated or
      unexpected financial gains to the outstanding court-ordered financial obligation in this case.
7.    Any business you operate during the term of supervision must be approved by the probation officer. You must operate under a
      formal, registered entity, and you must provide the probation officer with the name of the business entity and its registered agents.
      You must maintain business records and provide all business documentation and records as requested by the probation officer.
8.    You must not engage in an occupation, business, profession, or volunteer activity that would require or enable you to have access to
      others’ money without the prior approval of the probation officer.
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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                   Restitution             Fine                  AVAA Assessment*             JVTA Assessment**
COUNT 1            $ 100.00                    $ 357,809.42               $ 0.00               $ 0.00                     $ 0.00
COUNT 2            $ 100.00                    $ 53,079.58                $ 0.00               $ 0.00                     $ 0.00
TOTALS             $ 200.00                    $ 410,889.00               $ 0.00               $ 0.00                     $ 0.00

‫ ܆‬The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

‫ ܈‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                     Total Loss***                Restitution Ordered            Priority or Percentage
Internal Revenue Service                                             $53,079.58                          $53,079.58
Attn: DOJ/Criminal Restitution, Mail
Stop 6261 P-6
333 West Pershing Avenue
Kansas City, MO 94108
Autumn Breeze HOA                                                        $11,500.00                        $11,500.00
c/o High Plains HOA Management
PO Box 898
Clifton, CO 81520
Canyon Rim HOA                                                           $25,000.00                        $25,000.00
c/o Caldwell Banker Commercial
Prime Properties Attn: Barrett Miller
131 N. 6th Street, Suite 300
Grand Junction, CO 81501

ADDITIONAL RESTITUTION PAYEES CONTINUED ON NEXT PAGE
‫ ܈‬Restitution amount ordered pursuant to plea agreement              $                     410,889.00

‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
  subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫ ܈‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ‫ ܈‬the interest requirement is waived for the            ‫ ܆‬fine        ‫ ܈‬restitution.

    ‫ ܆‬the interest requirement for the        ‫܆‬      fine     ‫ ܆‬restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Publ. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

                                             ADDITIONAL RESTITUTION PAYEES
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Name of Payee                                         Total Loss*     Restitution Ordered       Priority or Percentage
Chatfield II HOA                                       $51,550.00               $51,550.00
c/o Heritage Property Management
2650 North Avenue, Suite 116
Grand Junction, CO 81501
Chatfield III HOA                                      $21,100.00              $21,100.00
c/o Caldwell Banker Commercial
Prime Properties Attn: Barrett Miller
131 N. 6th Street, Suite 300
Grand Junction, CO 81501
Coronado Subdivision HOA                                $4,500.00               $4,500.00
c/o Lighthouse Management, LLC
PO Box 1120
Clifton, CO 81520
Coronado Villas Association                            $13,500.00              $13,500.00
c/o Bray HOA Management
637 North Avenue
Grand Junction, CO 81501
Falls Village HOA                                       $2,000.00               $2,000.00
c/o Bray HOA Management
637 North Avenue
Grand Junction, CO 81501
First & Patterson Condominium Association              $36,500.00              $36,500.00
Part of Olympic Arms Condominium
Association
c/o Lighthouse Management, LLC
PO Box 1120
Clifton, CO 81520
Legacy HOA                                              $5,500.00               $5,500.00
PO Box 2750
Grand Junction, CO 81502
Lynwood HOA                                             $5,500.00               $5,500.00
PO Box 3213
Grand Junction, CO 81502
Olympic Arms Condominium                               $41,000.00              $41,000.00
Association
c/o Lighthouse Management, LLC
PO Box 1120
Clifton, CO 81520
Patterson Gardens Townhomes                             $7,000.00               $7,000.00
c/o Heritage Property Management
2650 North Avenue, Suite 116
Grand Junction, CO 81501
Ridge Park HOA                                         $66,179.42              $66,179.42
c/o Caldwell Banker Commercial
Prime Properties Attn: Barrett Miller
131 N. 6th Street, Suite 300
Grand Junction, CO 81501

ADDITIONAL RESTITUTION PAYEES CONTINUED ON NEXT PAGE
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                                             ADDITIONAL RESTITUTION PAYEES
Name of Payee                                             Total Loss*              Restitution Ordered          Priority or Percentage
Summer Glen HOA                                             $6,000.00                         $6,000.00
c/o Bray HOA Management
637 North Avenue
Grand Junction, CO 81501
Summerville HOA                                            $23,000.00                        $23,000.00
c/o Bray HOA Management
637 North Avenue
Grand Junction, CO 81501
Summit View Ridge                                           $2,000.00                          $2,000.00
PO Box 1120
Clifton, CO 81520
Sundance Crossing HOA                                       $4,500.00                          $4,500.00
c/o Bray HOA Management
637 North Avenue
Grand Junction, CO 81501
Sunrise Meadows HOA                                         $2,000.00                          $2,000.00
c/o Caldwell Banker Commercial
Prime Properties Attn: Barrett Miller
131 N. 6th Street, Suite 300
Grand Junction, CO 81501
Villa San Marcos HOA                                       $15,000.00                        $15,000.00
c/o Caldwell Banker Commercial
Prime Properties Attn: Barrett Miller
131 N. 6th Street, Suite 300
Grand Junction, CO 81501
Village Park HOA                                            $9,980.00                          $9,980.00
c/o Heritage Property Management
2650 North Avenue, Suite 116
Grand Junction, CO 81501
Woodland Creek Estates HOA                                  $4,500.00                          $4,500.00
c/o Western Slope HOA Management
PO Box 153
Mack, CO 81525
TOTALS                                              $      410,889.00                 $      410,889.00
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ‫ ܆‬Lump sum payment of $                                    due immediately, balance due

           ‫܆‬      not later than                                    , or
           ‫܆‬      in accordance with ‫܆‬        C,     ‫܆‬      D,      ‫ ܆‬E, or ‫܆‬           F below; or

B     ‫ ܈‬Payment to begin immediately (may be combined with ‫ ܆‬C,                         ‫܆‬     D, or     ‫܈‬       F below); or

C     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after the date of this judgment; or

D     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     ‫ ܆‬Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
           The special assessment and restitution are due immediately. The defendant shall make payment on the restitution obligation that
           remains unpaid at the commencement of supervised release. Within 60 days of commencement of supervision, the defendant shall
           meet with the probation officer to develop a plan for the payment of restitution. This plan will be based upon the defendant’s
           income and expenses. The plan will be forwarded to the Court for review and approval.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬     Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                                                       Corresponding Payee, if
      (including defendant number)                               Total Amount            Joint and Several Amount                  appropriate




‫܆‬     The defendant shall pay the cost of prosecution.

‫܆‬     The defendant shall pay the following court cost(s):

‫܈‬     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      Money judgment in the amount of $252,069.00



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
